Case 2:99-cr-20013-BBD Document 159 Filed 08/31/05 Page 1 of 2 - Page|D 98

""Fll.ED BY __,______ D,C,
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 31 PH 3: 38
WESTERN DIVISION

morris a._soum
cia .~:, ns seaman

UNITED STATES OF AMERICA *
* W,fl`} ;F -. f-.~?E,’l,l?`i'li-S
Plaintiff, *
*
vs. * CR. NO. 99-20013-02-D
*
ALDOTFUS WILLIAMS *
sk
Defendant. *

 

ORDER HOLD]NG DEFENDANT FOR REVOCATION HEARING

 

On August 31, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant was advised of his rights
under FRCrP 5 and 32.l(a)(1) and counsel was appointed. "

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on

the violation was not required § United States v. Sciuto, 531 F.Zd 842, 846 (7th Cir. 1976);

 

United States v. Tucker, 524 F.2d 77, 78 (5th Cir. 1975), Lrt. denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

47 L.Ed.2d 733 (1976).
Accordingly, defendant is held to a final revocation hearing, to be set on notice from the
United States District Court and in accordance with the provisions of Rule 32.1(a)(2), F ederal Rules

of Criminal Procedure.

IT IS SO ORDERED this 3lst day OfAugust, 2005.

5%»_, /a/¢an

,S. Thomas Anderson
United States Magistrate Judge
Uaée

Tnls document entered on the docket shea
with Rule 55 and/or 32[b) FRCrP on

 

 

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This notice confirms a copy ofthe document docketed as number 159 in
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Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Bernice Donald
US DISTRICT COURT

